
PER CURIAM.
We affirm the trial court's finding that the former husband engaged in vexatious and unnecessary litigation in his pursuit, and then last-minute withdrawal, of his motion for contempt against the former wife. However, it was error for the trial court to set the amount of fees prior to affording either party the opportunity to present evidence on the matter. Caryi v. Caryi , 83 So. 3d 960, 961 (Fla. 5th DCA 2012) (holding that fee award in dissolution proceeding must be supported by competent, substantial evidence).
On remand, the trial court is directed to conduct an evidentiary hearing to determine the amount of attorney's fees, if any, to be paid by the former husband after giving due consideration to the factors set forth in Rosen v. Rosen , 696 So. 2d 697, 700 (Fla. 1997). The other issues raised on appeal are without merit.
AFFIRMED, in part; REVERSED, in part; REMANDED.
EVANDER, C.J., LAMBERT and GROSSHANS, JJ., concur.
